                              1                                         Exhibit 2
                              2                                    Disclosure Schedule
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Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13
      767 Fifth Avenue




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                              1
                                            Matched Entity                    Relationship to Debtors          Relationship to Weil
                              2
                                    21st Century Casualty Company                  Litigation                 Affiliate or Subsidiary
                              3                                             Counterparties/Litigation           of Current Client
                                                                           Pending Lawsuits – includes
                              4                                               threatened litigation
                                  ACE American Insurance Company               Insurance/Insurance            Affiliate or Subsidiary
                              5            (Starr Tech)                       Provider/Surety Bonds             of Current Client

                              6        ACE Insurance Company
                                          AIG Europe Limited                       Litigation                 Affiliate or Subsidiary
                              7                                             Counterparties/Litigation           of Current Client
                                    AIG Property Casualty Company
                                                                           Pending Lawsuits – includes
                              8   American Home Assurance Company             threatened litigation

                              9            AlixPartners, LLP                 Debtors Professionals (law          Current Client
                                                                            firms, accountants and other
                                                                                    professionals)
                             10
                                  Allianz Global Corporate & Specialty         Insurance/Insurance                Former Client
                             11                SE (PDW)                       Provider/Surety Bonds
                                          Allianz Global Risks
                             12
                                   Allianz Global Risks US Insurance
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                             13                Company
                                   Allianz Global Risks US Insurance               Litigation                     Former Client
      767 Fifth Avenue




                             14                Company                      Counterparties/Litigation
                                                                           Pending Lawsuits – includes
                             15                                               threatened litigation
                                                 Alpha                        Insurance/Insurance            Related to Former Client
                             16                                              Provider/Surety Bonds

                             17       Alpha Pacific Engineering &           Vendors/Suppliers (critical,     Related to Former Client
                                           Contracting Inc.                   foreign, common carrier,
                             18                                              shippers, warehousemen,
                                                                          customs duties, brokers charges,
                             19                                             facilities provider and third
                                                                                        party)
                             20   Amec Foster Wheeler Environment &                  Vendors                  Affiliate or Subsidiary
                                          Infrastructure, Inc.                                                  of Current Client
                             21

                             22     American Alternative Insurance             Insurance/Insurance            Affiliate or Subsidiary
                                     Company (Munich Re U.S.)                 Provider/Surety Bonds             of Current Client
                             23   Great Lakes Reinsurance (UK) PLC
                                         (Munich Re London)
                             24
                                               Anadarko                       Contract Counterparties         Affiliate or Subsidiary
                             25                                           (includes, PPAs, patents and IP)      of Current Client
                                             Apache Corp                      Contract Counterparties         Affiliate or Subsidiary
                             26                                           (includes, PPAs, patents and IP)      of Current Client
                             27   AT&T Corp – Lease Administration        Landlords and parties to leases     Affiliate or Subsidiary
                                                                                                                of Current Client
                                      AT&T Corporate Real Estate
                             28

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                              1            Matched Entity                   Relationship to Debtors          Relationship to Weil

                              2            AT&T Network                        Utility Providers            Affiliate or Subsidiary
                                                                                                              of Current Client
                                    AT&T PCS Wireless Services
                              3
                                          Bank of America                       Bank Accounts               Affiliate or Subsidiary
                              4                                                                               of Current Client
                                                                               Unsecured Notes
                              5
                                    Bank of America Merrill Lynch               Bank Accounts                   Current Client
                              6
                                       Bank of America, N.A.               Lenders (Prepetition and             Current Client
                              7                                          Postpetition to the extent not
                                                                                already listed)
                              8
                                                                           Top Unsecured Creditors
                              9                                           Term and Revolving Loan
                                                                          Lenders and Administrative
                             10                                                    Agents

                             11                                          Interested Parties / Notice of
                                                                              Appearance Parties
                             12         Barclays Bank PLC                 Term and Revolving Loan               Current Client
                                                                          Lenders and Administrative
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                             13                                                    Agents
                                         Barclays Capital Inc.
                                                                            Contract Counterparties
      767 Fifth Avenue




                             14         Barclays Global
                                                                        (includes, PPAs, patents and IP)
                             15                                                Unsecured Notes
                                                                           Lenders (Prepetition and
                             16                                          Postpetition to the extent not
                                                                                already listed)
                             17
                                           Baupost Group                 Significant Holder of Voting           Current Client
                             18                                             Securities and Claims
                                            Blackrock Inc.              Significant Shareholders (more      Affiliate or Subsidiary
                             19                                               than 5% of equity)              of Current Client
                             20   Blue Mountain Capital Management       Significant Holder of Voting           Current Client
                                                LLC                               Securities
                             21                                          Interested Parties / Notice of
                                                                              Appearance Parties
                             22

                             23              BNP Paribas                  Term and Revolving Loan               Current Client
                                                                          Lenders and Administrative
                             24                                                    Agents
                                                                               Unsecured Notes
                             25
                                     BNP Paribas Securities Corp.           Contract Counterparties        Affiliate or Subsidiary of
                             26                                         (includes, PPAs, patents and IP)         Current Client
                                           BNP Paribas US                   Contract Counterparties             Current Client
                             27
                                                                        (includes, PPAs, patents and IP)
                             28         Brock Services, LLC                        Vendors                  Affiliate or Subsidiary
                                                                                                              of Current Client

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                              1            Matched Entity                    Relationship to Debtors         Relationship to Weil

                              2     Brookfield Renewable Energy              Contract Counterparties        Affiliate or Subsidiary
                                              Partners                   (includes, PPAs, patents and IP)     of Current Client
                              3         Chevron (McKittrick)                 Contract Counterparties        Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)     of Current Client
                              4       Chevron (North Midway)
                                          Chevron Natural
                              5
                                     Chevron Products Company
                              6      Chevron Richmond Refinery

                              7       Chevron USA (Coalinga)
                                       Chevron USA (Concord)
                              8
                                       Chevron USA (Cymric)
                              9       Chevron USA (Eastridge)
                                      Chevron USA (Taft/Cadet)
                             10
                                         Chevron USA, Inc.
                             11   Chevron USA, Inc. (SE Kern River)
                             12      Chevron Power Holding Inc.             Top Unsecured Creditors         Affiliate or Subsidiary
                                                                                                              of Current Client
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                             13               Chrysler                   Landlords and parties to leases    Affiliate or Subsidiary
                                                                                                              of Current Client
      767 Fifth Avenue




                             14
                                           Chubb Bermuda                      Insurance/Insurance           Affiliate or Subsidiary
                             15                                              Provider/Surety Bonds            of Current Client
                                    Chubb Bermuda Insurance Ltd
                             16       Citigroup Global Markets                   Bank Accounts                 Current Client
                                    Citigroup Global Markets Inc.
                             17
                                           Citibank, N.A.                        Bank Accounts                 Current Client
                             18                                                 Unsecured Notes

                             19                                             Top Unsecured Creditors
                                                                          Interested Parties / Notice of
                             20                                                Appearance Parties

                             21                                            Term and Revolving Loan
                                                                           Lenders and Administrative
                                                                                    Agents
                             22
                                              Citigroup                      Contract Counterparties        Affiliate or Subsidiary
                             23                                          (includes, PPAs, patents and IP)     of Current Client
                                    Citigroup Global Markets Inc.           Lenders (Prepetition and           Current Client
                             24                                           Postpetition to the extent not
                                                                                 already listed)
                             25
                                  Coast National Insurance Company                Litigation                   Current Client
                             26                                            Counterparties/Litigation
                                                                          Pending Lawsuits – includes
                             27                                              threatened litigation
                                              Comcast                            Utility Provider           Affiliate or Subsidiary
                             28                                                                               of Current Client

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                              1             Matched Entity                   Relationship to Debtors         Relationship to Weil

                              2        Credit Suisse Energy LLC              Contract Counterparties        Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)     of Current Client
                              3      Dell Financial Services L.L.C.            UCC Lien Holders             Affiliate or Subsidiary
                                                                                                              of Current Client
                              4       Dell Financial Services, L.P.
                                        Deloitte & Touche LLP              Debtors Professionals (law       Affiliate or Subsidiary
                              5                                           firms, accountants and other        of Current Client
                                                                                  professionals)
                              6
                                               Deutsche                         Unsecured Notes             Affiliate or Subsidiary
                              7                                                                               of Current Client
                                            Deutsche Bank                   Top Unsecured Creditors         Affiliate or Subsidiary
                              8                                                                               of Current Client

                              9

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                             11
                                     Deutsche Bank Trust Company                 Bank Accounts              Affiliate or Subsidiary
                             12                Americas                                                       of Current Client
                                                                          Interested Parties / Notice of
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                             13                                                Appearance Parties
      767 Fifth Avenue




                             14

                             15
                                     Deutsche Bank National Trust         Interested Parties / Notice of    Affiliate or Subsidiary
                             16               Company                          Appearance Parties             of Current Client
                             17      El Paso Natural Gas Company             Contract Counterparties        Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)     of Current Client
                             18        Environmental Resources                       Vendor                     Former Client
                                         Management (ERM)
                             19
                                              Equinix Inc.                      Utility Providers           Affiliate or Subsidiary
                             20                                                                               of Current Client

                             21
                                     Farmers Insurance Company of                 Litigation                Affiliate or Subsidiary
                             22                 Oregon                     Counterparties/Litigation          of Current Client
                                                                          Pending Lawsuits – includes
                                     Farmers Insurance Company of
                             23                                              threatened litigation
                                              Washington

                             24       Farmers Insurance Exchange
                                      Farmers Insurance Exchange
                             25
                                  Farmers Specialty Insurance Company
                             26         Fire Insurance Exchange

                             27       Federal Insurance Company               Insurance/Insurance              Current Client
                                                                             Provider/Surety Bonds
                             28                                                    Litigation
                                                                            Counterparties/Litigation

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                              1             Matched Entity                       Relationship to Debtors         Relationship to Weil

                              2                                               Pending Lawsuits – includes
                                                                                 threatened litigation
                              3   Chubb Custom Insurance Company                      Litigation                Affiliate or Subsidiary
                                                                               Counterparties/Litigation          of Current Client
                              4   Chubb Custom Insurance Company
                                                                              Pending Lawsuits – includes
                                  Chubb Insurance Company Of New                 threatened litigation
                              5                Jersey

                              6   Chubb National Insurance Company
                                             First Reserve                       Contract Counterparties           Current Client
                              7                                              (includes, PPAs, patents and IP)

                              8   Foremost Insurance Company Grand                    Litigation                Affiliate or Subsidiary
                                          Rapids, Michigan                     Counterparties/Litigation          of Current Client
                              9                                               Pending Lawsuits – includes
                                  Foremost Insurance Company Grand
                                                                                 threatened litigation
                                          Rapids, Michigan
                             10
                                    Foremost Property and Casualty
                                         Insurance Company
                             11
                                    Foremost Property and Casualty
                             12          Insurance Company
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                                     Foremost Signature Insurance
 New York, NY 10153-0119




                             13               Company
      767 Fifth Avenue




                             14     GE Oil & Gas - North America                        Vendors                 Affiliate or Subsidiary
                                                                                                                  of Current Client
                                        GE Renewable Energy
                             15
                                   General Electric International Inc.
                             16   General Electric International Inc. -
                                           Power Services
                             17
                                   Gelco Corporation d/b/a GE Fleet                UCC Lien Holders             Affiliate or Subsidiary
                             18               Services                                                            of Current Client
                                     GEPIF NAP I Holdings, LLC                Significant Holder of Voting      Affiliate or Subsidiary
                             19                                                        Securities                 of Current Client

                             20       Goldman Sachs Bank USA                   Term and Revolving Loan          Affiliate or Subsidiary
                                                                               Lenders and Administrative         of Current Client
                                                                                        Agents
                             21
                                                                                    Unsecured Notes
                             22
                                  Great American Alliance Assurance               Insurance/Insurance           Affiliate or Subsidiary
                                              Company                            Provider/Surety Bonds            of Current Client
                             23
                                  Great American Alliance Insurance                   Litigation
                             24              Company                           Counterparties/Litigation
                                                                              Pending Lawsuits – includes
                                    Great American E&S Insurance
                             25                                                  threatened litigation
                                             Company

                             26   Great American Insurance Company
                                            of New York
                             27   Great American Insurance Company

                             28      Greenleaf Energy Unit 1 LLC                 Contract Counterparties           Current Client
                                                                             (includes, PPAs, patents and IP)
                                     Greenleaf Energy Unit 2 LLC
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                              1             Matched Entity                   Relationship to Debtors          Relationship to Weil

                              2            Greenleaf Power
                                     Hartford Accident & Indemnity                Litigation                 Affiliate or Subsidiary
                              3                Company                     Counterparties/Litigation           of Current Client
                                                                          Pending Lawsuits – includes
                              4   Hartford Casualty Insurance Company
                                                                             threatened litigation
                                  Hartford Casualty Insurance Company
                              5
                                    Hartford Fire Insurance Company
                              6     Hartford Fire Insurance Company

                              7     Hartford Underwriters Insurance
                                              Company
                              8     Hartford Underwriters Insurance
                                              Company
                              9   Property & Casualty Ins. Company Of
                                               Hartford
                             10
                                    Property and Casualty Insurance
                             11          Company of Hartford
                                       IHI Power Services Corp.              Contract Counterparties         Affiliate or Subsidiary
                             12                                          (includes, PPAs, patents and IP)      of Current Client
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                             13    Invenergy Wind Development LLC            Contract Counterparties         Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)      of Current Client
      767 Fifth Avenue




                             14             Iron Mountain                  Non-Debtors Professionals        Affiliate or Subsidiary of
                                                                                                                  Current Client
                             15
                                         J.P. Morgan Ventures                Contract Counterparties         Affiliate or Subsidiary
                             16                                          (includes, PPAs, patents and IP)      of Current Client
                                                                           Interested Parties /Notice of
                             17                                                Appearance Parties

                             18        JP Morgan Securities LLC              Contract Counterparties         Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)      of Current Client
                             19       JP Morgan Ventures Energy              Contract Counterparties         Affiliate or Subsidiary
                                             Corporation                 (includes, PPAs, patents and IP)      of Current Client
                             20
                                      JPMorgan Chase Bank, N.A.            Term and Revolving Loan               Current Client
                             21                                            Lenders and Administrative
                                                                                    Agents
                             22                                              Contract Counterparties
                                                                         (includes, PPAs, patents and IP)
                             23                                                 Unsecured Notes
                             24                                             Lenders (Prepetition and
                                                                          Postpetition to the extent not
                             25                                                  already listed)
                                           Koch Energy Svc.                  Contract Counterparties         Affiliate or Subsidiary
                             26                                          (includes, PPAs, patents and IP)      of Current Client
                                      Koch Supply & Trading, LP
                             27            Lehman Brothers                      Unsecured Notes                  Current Client

                             28   Lehman Brothers Commodity Services         Contract Counterparties         Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)      of Current Client

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                              1              Matched Entity                    Relationship to Debtors         Relationship to Weil

                              2      Liberty Insurance Corporation               Insurance/Insurance          Affiliate or Subsidiary
                                                                                Provider/Surety Bonds           of Current Client
                                      Liberty Mutual Fire Insurance
                              3                Company                               Litigation
                                                                              Counterparties/Litigation
                              4    Liberty Mutual Insurance Company
                                                                             Pending Lawsuits – includes
                                                                                threatened litigation
                              5
                                   Liberty Insurance Underwriters Inc.           Insurance/Insurance             Current Client
                              6                                                 Provider/Surety Bonds
                                      Liberty Mutual Fire Insurance
                                               Company
                              7
                                   Liberty Mutual Insurance Company
                              8     Liberty Mutual Insurance Europe
                                               Limited
                              9       Liberty Mutual Management
                                         (Bermuda) Ltd (PDW)
                             10
                                   Liberty Surplus Insurance Company
                             11   Liberty Surplus Insurance Corporation
                             12       Liberty Mutual Fire Insurance                 Surety Bonds              Affiliate or Subsidiary
                                               Company                                                            Current Client
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                             13       Liberty Mutual Fire Insurance              Insurance/Insurance          Affiliate or Subsidiary
                                               Company                          Provider/Surety Bonds           of Current Client
      767 Fifth Avenue




                             14
                                    Liberty Mutual Insurance Europe
                             15                Limited
                                   Liberty Mutual Insurance Company                 Surety Bonds                 Current Client
                             16
                                                                             Interested Parties / Notice of
                             17                                                   Appearance Parties
                                   Liberty Mutual Insurance Company                 Surety Bonds              Affiliate or Subsidiary
                             18                                                                                 of Current Client
                                      Liberty Mutual Fire Insurance
                                               Company
                             19
                                   Liberty Mutual Insurance Company                  Litigation                  Current Client
                             20                                               Counterparties/Litigation
                                                                             Pending Lawsuits – includes
                             21                                                 threatened litigation
                                      Liberty Mutual Management                  Insurance/Insurance          Affiliate or Subsidiary
                             22          (Bermuda) Ltd (PDW)                    Provider/Surety Bonds           of Current Client
                             23    Liberty Insurance Underwriters Inc.
                                      Liberty Mutual Fire Insurance
                             24                Company

                             25    Liberty Mutual Insurance Company
                                    Liberty Mutual Insurance Europe
                             26                Limited

                             27       Liberty Mutual Management
                                         (Bermuda) Ltd (PDW)
                             28    Liberty Surplus Insurance Company


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                              1              Matched Entity                     Relationship to Debtors         Relationship to Weil

                              2   Liberty Surplus Insurance Corporation
                                        MacQuarie Energy LLC                    Contract Counterparties        Affiliate or Subsidiary
                              3                                             (includes, PPAs, patents and IP)     of Current Client
                                            MacQuarie Can
                              4            MacQuarie Futures

                              5         MacQuarie Futures LLC
                                        MacQuerie Energy LLC
                              6
                                        MacQuarie Energy LLC                   Top Unsecured Creditors         Affiliate or Subsidiary
                              7                                                                                  of Current Client

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                                       Maxim Crane Works, L.P.                          Vendor                 Affiliate or Subsidiary
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                             13
                                                                                                                 of Current Client
      767 Fifth Avenue




                             14     McKinsey & Company Inc. - U S              Top Unsecured Creditors         Affiliate or Subsidiary
                                                                                                                 of Current Client
                             15                                              Interested Parties / Notice of
                                                                                  Appearance Parties
                             16      Mercuria Commodities Canada                Contract Counterparties        Affiliate or Subsidiary
                                                                            (includes, PPAs, patents and IP)     of Current Client
                             17         Mercuria Ener Amer Inc.
                                             Merrill Lynch                          Bank Accounts              Affiliate or Subsidiary
                             18                                                                                  of Current Client

                             19   Merrill Lynch, Pierce, Fenner & Smith            Unsecured Notes             Affiliate or Subsidiary
                                              Incorporated                                                       of Current Client
                             20     Mid-Century Insurance Company                    Litigation                Affiliate or Subsidiary
                                                                              Counterparties/Litigation          of Current Client
                             21                                              Pending Lawsuits – includes
                                                                                threatened litigation
                             22    Mitsubishi Electric Power Products,                 Vendors                 Affiliate or Subsidiary
                                       Inc. - Substation Division                                                of Current Client
                             23
                                    Mitsubishi Hitachi Power Systems
                             24              Americas, Inc.
                                           Mizuho Bank, Ltd.                       Unsecured Notes             Affiliate or Subsidiary
                             25                                                                                  of Current Client
                                      Mizuho Corporate Bank, Ltd.
                             26         Mizuho Bank, Ltd. (TL)                Term and Revolving Loan          Affiliate or Subsidiary
                                                                              Lenders and Administrative         of Current Client
                             27                                                        Agents

                             28       Mizuho Corporate Bank, Ltd.                  Unsecured Notes             Affiliate or Subsidiary
                                                                                                                 of Current Client

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                              1             Matched Entity                    Relationship to Debtors           Relationship to Weil

                              2             Morgan Stanley                       Unsecured Notes              Affiliate or Subsidiary
                                                                                                                of Current Client
                              3    Morgan Stanley / ISG Operations                Bank Accounts               Affiliate or Subsidiary
                                                                                                                of Current Client
                              4
                                         Morgan Stanley Bank                     Unsecured Notes              Affiliate or Subsidiary
                              5                                                                                 of Current Client
                                      Morgan Stanley Bank, N.A.             Term and Revolving Loan           Affiliate or Subsidiary
                              6                                             Lenders and Administrative          of Current Client
                                  Morgan Stanley Senior Funding, Inc.
                                                                                     Agents
                              7
                                   Morgan Stanley Capital Group Inc.          Contract Counterparties         Affiliate or Subsidiary
                              8                                           (includes, PPAs, patents and IP)      of Current Client
                                    Morgan Stanley Senior Funding                Unsecured Notes              Affiliate or Subsidiary
                              9                                                                                 of Current Client

                             10        MS Amlin (Lloyds Synd)                  Insurance/Insurance           Related to Former Client
                                                                              Provider/Surety Bonds
                                     Amlin Underwriting Limited
                             11
                                       MUFG Union Bank, N.A.                Term and Revolving Loan           Affiliate or Subsidiary
                             12                                             Lenders and Administrative          of Current Client
                                                                                     Agents
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                             13                                                  Unsecured Notes
                                                                             Top Unsecured Creditors
      767 Fifth Avenue




                             14
                                              Munich Re                        Insurance/Insurance                Current Client
                             15                                               Provider/Surety Bonds
                                       Ormat Technologies Inc.                Contract Counterparties        Related to Current Client
                             16                                           (includes, PPAs, patents and IP)
                             17      Panoche Energy Center LLC                Contract Counterparties         Affiliate or Subsidiary
                                                                          (includes, PPAs, patents and IP)      of Current Client
                             18            Perella Weinberg                  Bondholder Professional              Current Client
                             19      PricewaterhouseCoopers LLP             Non-Debtors Professionals        Related to Current Client
                                                                           Ordinary Course Professionals
                             20
                                      QBE European Operations                       Litigation               Related to Current Client
                             21       QBE Insurance Corporation
                                                                             Counterparties/Litigation
                                                                            Pending Lawsuits – includes
                             22    QBE Specialty Insurance Company             threatened litigation
                                         RBC Capital Markets                      Bank Accounts                   Current Client
                             23
                                                 RBS                             Unsecured Notes                  Current Client
                             24         Repsol Canada Energy                  Contract Counterparties         Affiliate or Subsidiary
                                                                          (includes, PPAs, patents and IP)      of Current Client
                             25
                                       RLI Insurance Company                   Insurance/Insurance                Current Client
                             26                                               Provider/Surety Bonds
                                              Rothschild                    Non-Debtors Professionals         Affiliate or Subsidiary
                             27                                                                                 of Current Client
                             28         Royal Bank of Canada                      Bank Accounts                   Current Client


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                              1             Matched Entity                   Relationship to Debtors            Relationship to Weil

                              2                                            Term and Revolving Loan
                                                                           Lenders and Administrative
                              3                                                     Agents
                                                                              Contract Counterparties
                              4                                          (includes , PPAs, patents and IP)

                              5                                                  Unsecured Notes
                                     Royal Bank of Scotland, PLC             Contract Counterparties              Current Client
                              6                                          (includes, PPAs, patents and IP)

                              7           Ruby Pipeline, LLC                 Contract Counterparties          Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)       of Current Client
                              8                                            Interested Parties / Notice of
                                                                                Appearance Parties
                              9
                                                Savage                       Contract Counterparties         Related to Current Client
                                                                         (includes, PPAs, patents and IP)
                             10
                                        Schindler Elevator Corp.                     Vendors                      Current Client
                             11

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                             13
                                        Schlumberger US Land                         Vendors                  Affiliate or Subsidiary
      767 Fifth Avenue




                             14                                                                                 of Current Client
                                                 Sears                   Landlords and parties to leases          Current Client
                             15
                                  Security National Insurance Company              Litigation                 Affiliate or Subsidiary
                             16                                             Counterparties/Litigation           of Current Client
                                                                           Pending Lawsuits – includes
                             17                                               threatened litigation
                                             Sodexo, Inc.                  Interested Parties /Notice of      Affiliate or Subsidiary
                             18                                                Appearance Parties               of Current Client

                             19            Spark Energy Gas                  Contract Counterparties              Former Client
                                                                         (includes, PPAs, patents and IP)
                             20                 Sparks                   Landlords and parties to leases          Former Client

                             21
                                       Sumitomo Mitsui Banking             Term and Revolving Loan                Current Client
                             22              Corporation                   Lenders and Administrative
                                                                                    Agents
                             23
                                    SunEdison Yieldco ACQ2, LLC              Contract Counterparties          Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)       of Current Client
                             24
                                       Swiss Re International SE               Insurance/Insurance            Affiliate or Subsidiary
                             25   Swiss Re International SE (Swiss Re)
                                                                              Provider/Surety Bonds             of Current Client

                             26        T. Rowe Price Associates          Significant Shareholders (more           Former Client
                                                                               than 5% of equity)
                             27              Tenaska Gas                     Contract Counterparties         Related to Former Client
                                                                         (includes, PPAs, patents and IP)
                             28              Tenaska Mktg


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                              1             Matched Entity                   Relationship to Debtors          Relationship to Weil

                              2            Tenaska Mktg Can
                                      Tenaska Power Services Co.
                              3
                                   Tenaska Power Services Company
                              4       Tesoro Refining & Marketing            Contract Counterparties         Affiliate or Subsidiary
                                            Company, LLC                 (includes, PPAs, patents and IP)      of Current Client
                              5
                                   The Bank of Tokyo-Mitsubishi UFJ,       Term and Revolving Loan           Affiliate or Subsidiary
                              6                  Ltd.                      Lenders and Administrative          of Current Client
                                                                                    Agents
                              7                T-Mobile                  Landlords and parties to leases     Affiliate or Subsidiary
                                                                                                               of Current Client
                              8             T-Mobile USA
                                            T-Mobile West                       Utility Providers            Affiliate or Subsidiary
                              9                                                                                of Current Client

                             10                Total Gas                     Contract Counterparties         Affiliate or Subsidiary
                                                                         (includes, PPAs, patents and IP)      of Current Client
                             11        Truck Insurance Exchange                   Litigation                    Current Client
                                                                           Counterparties/Litigation
                             12                                           Pending Lawsuits – includes
                                                                             threatened litigation
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 New York, NY 10153-0119




                             13
                                                 UBS                            Unsecured Notes                 Current Client
      767 Fifth Avenue




                             14             UBS Securities
                                         UBS AG (Switzerland)                Contract Counterparties         Affiliate or Subsidiary
                             15                                          (includes, PPAs, patents and IP)      of Current Client
                             16          UBS Investment Bank                    Unsecured Notes              Affiliate or Subsidiary
                                                                                                               of Current Client
                             17     United Fire & Casualty Company                Litigation                Related to Former Client
                                                                           Counterparties/Litigation
                             18                                           Pending Lawsuits – includes
                                                                             threatened litigation
                             19
                                          University of Miami                Contract Counterparties            Current Client
                             20                                          (includes, PPAs, patents and IP)
                                   Verizon Business Network Services            Utility Providers                Former Client
                             21
                                           Verizon Wireless
                             22   Wells Fargo Bank Northwest, National         UCC Lien Holders              Affiliate or Subsidiary
                                  Association, as Trustee Mac: U1228-                                          of Current Client
                             23                    051

                             24        Wells Fargo Bank, National          Term and Revolving Loan              Current Client
                                              Association                  Lenders and Administrative
                             25                                                     Agents
                                           Wells Fargo Bank
                                                                                Unsecured Notes
                             26         Wells Fargo Bank, N.A.
                                                                            Top Unsecured Creditors
                                       Wells Fargo Bank, National
                             27               Association
                                              Wells Fargo
                             28

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                              1             Matched Entity                  Relationship to Debtors         Relationship to Weil

                              2            Wells Fargo LLC                  Contract Counterparties        Affiliate or Subsidiary
                                                                        (includes, PPAs, patents and IP)     of Current Client
                              3       Wells Fargo Securities LLC               Unsecured Notes                Current Client
                              4             Westinghouse                           Suppliers                  Current Client
                                    Westinghouse Electric Co. LLC          Top Unsecured Creditors            Current Client
                              5
                                  Westinghouse Electric Company, LLC               Vendors
                              6          Willis Towers Watson                Insurance/Insurance              Current Client
                                                                            Provider/Surety Bonds
                              7
                                          WPX Energy Mktg.                  Contract Counterparties        Affiliate or Subsidiary
                              8                                         (includes, PPAs, patents and IP)     of Current Client
                                      XL Insurance America, Inc.             Insurance/Insurance           Affiliate or Subsidiary
                              9                                             Provider/Surety Bonds            of Current Client

                             10                                                   Litigation
                                                                           Counterparties/Litigation
                             11                                           Pending Lawsuits – includes
                                                                             threatened litigation
                             12         XL Insurance Company                 Insurance/Insurance           Affiliate or Subsidiary
                                                                            Provider/Surety Bonds            of Current Client
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                             13
                                    XL Specialty Insurance Company           Insurance/Insurance           Affiliate or Subsidiary
                                                                            Provider/Surety Bonds            of Current Client
      767 Fifth Avenue




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